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                                                                                                       United States Bankruptcy Court
                                                                                                           Southern District of Texas

                                                                                                              ENTERED
                                                                                                              May 09, 2022
                          IN THE UNITED STATES BANKRUPTCY COURT                                            Nathan Ochsner, Clerk
                            FOR THE SOUTHERN DISTRICT OF TEXAS
                                     HOUSTON DIVISION

In re:                                                      §        Case No.: 22-30682
                                                            §
BRAZOS SANDY CREEK ELECTRIC                                 §
COOPERATIVE, INC.,                                          §        Chapter 7
                                                            §
                    Debtor.                                 §

                 ORDER GRANTING TRUSTEE’S APPLICATION TO EMPLOY
                GUIDA, SLAVICH & FLORES, P.C. AS SPECIAL COUNSEL FOR
                             ENVIRONMENTAL MATTERS
                                                      
                               (Related to Docket No. ____)

             The Court has considered the Trustee’s Application to Employ Guida, Slavich & Flores,

    P.C. as Special Counsel for Environmental Matters (the “Application”)1 filed by Janet S.

    Northrup, Chapter 11 Trustee of the above-referenced bankruptcy estate (the “Trustee”), any

    responses thereto, and the argument and authority of counsel. The Court finds that notice of

    the Application is proper, and the Application is well-founded and should be approved.

    Accordingly, it is hereby:

             ORDERED that the Trustee is authorized pursuant to 11 U.S.C. §§ 327(e) and 328(a)

    and Federal Rules of Bankruptcy Procedure 2014(a) and 2016(b), and Local Rules 2014-1 and

    2016-1, to retain and employ the Guida, Slavich & Flores, P.C. as special counsel to the Trustee

    upon the terms and conditions as set forth in the Application with Paul Seals to act as lead

    counsel on the Environmental Matters as of April 6, 2022; and it is further




1
    Capitalized terms not defined herein shall have the meaning ascribed to them in the Application.


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          ORDERED that the Guida, Slavich & Flores, P.C. shall apply for all fees and expenses

incurred for its representation relating to the Environmental Matters pursuant to § 328 of the

Bankruptcy Code and Bankruptcy Rule 2016; and it is further

          ORDERED that the Trustee is authorized to take all actions necessary to effectuate the

relief granted in this Order in accordance with the Application; and it is further

          ORDERED that the Court shall retain jurisdiction to hear and determine all matters arising

from or related to the implementation, interpretation, and enforcement of this Order.

Dated: ____________________, 2022.
     Signed: May 09, 2022.

                                                  ____________________________________
                                               THEDAVID R. JONESDAVID R. JONES,
                                                   HONORABLE
                                                  UNITED  STATES
                                               CHIEF UNITED      BANKRUPTCY
                                                             STATES           JUDGE
                                                                     BANKRUPTCY
                                               JUDGE




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                                                              United States Bankruptcy Court
                                                                Southern District of Texas
In re:                                                                                                                 Case No. 22-30682-drj
Brazos Sandy Creek Electric Cooperative,                                                                               Chapter 7
       Debtor
                                                     CERTIFICATE OF NOTICE
District/off: 0541-4                                                  User: ADIuser                                                               Page 1 of 3
Date Rcvd: May 10, 2022                                               Form ID: pdf002                                                            Total Noticed: 7
The following symbols are used throughout this certificate:
Symbol          Definition
+                Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                 regulations require that automation-compatible mail display the correct ZIP.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on May 12, 2022:
Recip ID                 Recipient Name and Address
db                     + Brazos Sandy Creek Electric Cooperative, Inc., 7616 Bagby Avenue, Waco, TX 76712-6924
cr                     + Brazos Electric Power Cooperative, Inc., 7616 Bagby Avenue, Waco, TX 76712-6924
intp                   + Certain Holders of the 6.54% Series 2009A Senior S, c/o Shari L. Heyen, Greenberg Traurig, LLP, 1000 Louisiana Street, Suite 1700,
                         Houston, TX 77002-5001
cr                     + City of Waco, Midway ISD, c/o Lee Gordon, P.O. Box 1269, Round Rock, TX 78680-1269
intp                   + Lower Colorado River Authority, Jackson Walker LLP, Attn: Bruce J. Ruzinsky, 1401 McKinney Street, Suite 1900, Houston, TX
                         77010-1900

TOTAL: 5

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI). Electronic transmission is in Eastern
Standard Time.
Recip ID                 Notice Type: Email Address                                     Date/Time                 Recipient Name and Address
tr                     + Email/Text: jsn@hwa.com
                                                                                        May 10 2022 20:14:00      Janet S. Northrup, Hughes Watters Askanase,
                                                                                                                  Total Plaza, 1201 Louisiana Street, 29th Floor,
                                                                                                                  Houston, TX 77002-5607
intp                      Email/Text: bcd@oag.texas.gov
                                                                                        May 10 2022 20:14:00      Public Utility Commission of Texas, c/o Texas
                                                                                                                  Attorney General's Office, Bankruptcy &
                                                                                                                  Collections, P.O. Box 12548 MC008, Austin, TX
                                                                                                                  78711-2548

TOTAL: 2


                                                       BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
Recip ID         Bypass Reason Name and Address
tr                             Janet Northrup, Chapter 7 Trustee
cr                             Computershare Trust Company, N.A.
intp                           Electric Reliability Council of Texas, Inc.
cr                             McLennan County
intp                           Official Committee of Unsecured Creditors for Braz
cr                             Pension Benefit Guaranty Corporation
cr                             Sandy Creek Energy Associates, L.P.

TOTAL: 7 Undeliverable, 0 Duplicate, 0 Out of date forwarding address


                                                      NOTICE CERTIFICATION
I, Gustava Winters, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
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District/off: 0541-4                                               User: ADIuser                                                            Page 2 of 3
Date Rcvd: May 10, 2022                                            Form ID: pdf002                                                         Total Noticed: 7

the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: May 12, 2022                                        Signature:           /s/Gustava Winters




                                CM/ECF NOTICE OF ELECTRONIC FILING
The following persons/entities were sent notice through the court's CM/ECF electronic mail (Email) system on May 9, 2022 at the address(es) listed below:
Name                             Email Address
Andrea Wong
                                 on behalf of Creditor Pension Benefit Guaranty Corporation wong.andrea@pbgc.gov

Bruce J Ruzinsky
                                 on behalf of Interested Party Lower Colorado River Authority bruzinsky@jw.com
                                 msalinas@jw.com;kgradney@jw.com;dtrevino@jw.com

David S Gragg
                                 on behalf of Debtor Brazos Sandy Creek Electric Cooperative Inc. dgragg@langleybanack.com,
                                 cjohnston@langleybanack.com;sfoushee@langleybanack.com;sbrook@langleybanack.com

Demetra Liggins
                                 on behalf of Creditor Sandy Creek Energy Associates L.P. dliggins@mcguirewoods.com, morand@mcguirewoods.com

Diane Wade Sanders
                                 on behalf of Creditor McLennan County austin.bankruptcy@publicans.com

Heather Heath McIntyre
                                 on behalf of Trustee Janet Northrup Chapter 7 Trustee HMcIntyre@hwallp.com, dek@hwallp.com;lslater@hwa.com

Heather Heath McIntyre
                                 on behalf of Trustee Janet S Casciato-Northrup HMcIntyre@hwallp.com dek@hwallp.com;lslater@hwa.com

Heather Heath McIntyre
                                 on behalf of Trustee Janet S. Northrup HMcIntyre@hwallp.com dek@hwallp.com;lslater@hwa.com

Hector Duran, Jr
                                 on behalf of U.S. Trustee US Trustee Hector.Duran.Jr@usdoj.gov

Holland Neff O'Neil
                                 on behalf of Creditor Brazos Electric Power Cooperative Inc. honeil@foley.com,
                                 acordero@foley.com;jcharrison@foley.com;holly-holland-oneil-3540@ecf.pacerpro.com

Janet S Casciato-Northrup
                                 jln@hwa.com jsn@trustesolutions.net;jsnorthrup@hwa.com;dek@hwa.com

Jason B. Binford
                                 on behalf of Interested Party Public Utility Commission of Texas Jason.binford@oag.texas.gov

John F Higgins, IV
                                 on behalf of Interested Party Official Committee of Unsecured Creditors for Brazos Electric Power Cooperative Inc.
                                 jhiggins@porterhedges.com, emoreland@porterhedges.com;eliana-garfias-8561@ecf.pacerpro.com;mwebb@porterhedges.com

Kevin M Lippman
                                 on behalf of Interested Party Electric Reliability Council of Texas Inc. klippman@munsch.com

Lee Gordon
                                 on behalf of Creditor City of Waco Midway ISD
                                 kim.morriss@mvbalaw.com;tleday@ecf.courtdrive.com;bankruptcy@mvbalaw.com;vickie.covington@mvbalaw.com;alocklin@
                                 mvbalaw.com

Maria Barbara Mokrzycka
                                 on behalf of Creditor Brazos Electric Power Cooperative Inc. maria.mokrzycka@nortonrosefulbright.com

Melissa T Harris
                                 on behalf of Creditor Pension Benefit Guaranty Corporation harris.melissa@pbgc.gov efile@pbgc.gov

Quinette A Bonds
                                 on behalf of Creditor Pension Benefit Guaranty Corporation bonds.quinette@pbgc.gov efile@pbgc.gov

Sean A. Gordon
                                 on behalf of Creditor Computershare Trust Company N.A. Sean.Gordon@ThompsonHine.com, ECFDocket@thompsonhine.com

Shari L Heyen
                                 on behalf of Interested Party Certain Holders of the 6.54% Series 2009A Senior Secured Notes due June 24 2024 issued by
                                 Brazos Sandy Creek Electric Cooperative, Inc heyens@gtlaw.com, jamrokg@gtlaw.com

Soo Min Kim
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                          on behalf of Creditor Pension Benefit Guaranty Corporation kim.soomin@pbgc.gov

Timothy C. Mohan
                          on behalf of Creditor Brazos Electric Power Cooperative Inc. tmohan@foley.com

US Trustee
                          USTPRegion07.HU.ECF@USDOJ.GOV

Wayne Kitchens
                          on behalf of Trustee Janet S Casciato-Northrup jwk@hwallp.com dkokenes@hwallp.com


TOTAL: 24
